          Case 3:20-mj-04452-LL Document 14 Filed 10/19/20 PageID.48 Page 1 of 5

 -
.-

                                                                   FILED
      1
                                                                   OCT 19 2020
      2

      3
      4
      5
      6
      7

      8
      9
                               UNITED STATES DISTRICT COURT
     10
                             SOUTHERN DISTRICT OF CALIFORNIA
     11
     12   UNITED STATES OF AMERICA,                   Case No. 20-MJ-4452-LL

     13         V.                                    DETENTION ORDER
     14
     15   BRIAN JEFFERY RAYMOND,
     16
                       Defendant.
     17
     18        In accordance with section 3142(±) of the Bail Reform Act of 1984 (18 U.S.C. § 3141
     19 et seq.), a detention hearing was held on October 16, 2020, to determine whether defendant
     20 BRIAN JEFFERY RAYMOND should be held in custody pending trial on the grounds that
     21 he is a danger to the community and a flight risk. At the detention hearing, Assistant United
     22 States Attorneys Eric G. Roscoe and April Russo, and U.S. Department of Justice Attorney
     23 Jamie B. Perry appeared on behalf of the United States and attorney JOHN KIRBY appeared
     24 on behalf of Defendant.
     25        Based on the evidence proffered by the United States, the evidence proffered by the
     26 defense, motions filed by both the United States and Defendant, the pretrial services report,
     27 and the complaint, the Court concludes that the Government met its burden to demonstrate
     28 by clear and convincing evidence that Defendant poses a danger to the community and
                 Case 3:20-mj-04452-LL Document 14 Filed 10/19/20 PageID.49 Page 2 of 5
     •

,,


          1 II through a preponderance of the evidence that Defendant is a flight risk.          There is no
          2 II condition or combination of conditions that will reasonably assure Defendant's appearance.
          3                                                     I.
          4                                       FINDINGS OF FACT
          5 IIA.      Nature and Circumstances of the Offense Charged, 18 USC§ 3142(g)(l)
          611          1.   Defendant is charged in a complaint from the District of Columbia with one
          711 count of coercion and enticement in violation of 18 U.S.C. § 2422(a). This is a crime of
          811 violence pursuant to 18 U.S.C. § 3156(a)(4).
          911         2.    Defendant was arrested on October 9, 2020 in San Diego, California pursuant
         10 II to an arrest warrant issued in the District of Columbia on October 8, 2020.
         11 II        3.    If convicted of this charge, BRIAN JEFFERY RAYMOND faces a possible
         12 II maximum sentence of twenty years. Additionally, the United States proffered evidence of
         13 II yet to be charged offenses that involve at least twenty-three other victims including a victim
         1411 who alleges sexual assault in the special Maritime and Territorial Jurisdiction of the United
         15 II States, which carries a maximum sentence of life in prison. Accordingly, in this case, the
         16 II nature and the circumstances of the charged offense favor detention.
         17 II B.     Weight of the Evidence Against Defendant, 18 US. C. § 3142(g)(2)
         18           Although this factor is to be given the least weight, there is probable cause to believe
         19 II Defendant committed the charged offense, which favors detention. The United States began
         20 II its investigation of Defendant in May of 2020 when a female reported that Defendant
         21 II sexually assaulted her at a U.S. Embassy rented apartment in Mexico City. The United
         22 II States conducted two interviews with Defendant in June of 2020 and seized his cellular
         23 II telephones. Further investigation into Defendant yielded the discovery of numerous videos
         2411 and photographs in which Defendant appears to be filming unconscious females. The
         25 II interview of the victim in the charged offense revealed that she had no idea that defendant
         26 II had filmed her or that he had pulled her bra down exposing her breasts. The United States'
         27 II further investigation uncovered similar photographs and videos of at least 23 other possible
         28 II victims to include the alleged Mexico City sexual assault allegation.
                                                            2
            Case 3:20-mj-04452-LL Document 14 Filed 10/19/20 PageID.50 Page 3 of 5
~




     1 II C.     History and Characteristics of Defendant, 18 USC§ 3142(g)(3)
     211         1.    Character: Defendant has been a U.S. government employee for twenty-three
     3 II years. He has traveled and worked in numerous countries and has extensive experience
     411 living abroad. He speaks both Spanish and Chinese. From all outward appearances he has
     5 II led an exemplary life, the fact that many victims in Defendant's case were unaware of his
     6 11 behavior until they were shown the videos and photographs made while they were
     711 unconscious is evidence of his unique ability to portray a very different public face.
     8 II        Based on the proffer of the United States it appears that Defendant's interaction with
     911 females continued even after he was aware that the United States was conducting an
    10 II investigation and he was meeting with females as recently as September of 2020 in San
    11 II Diego, California. One female interviewed by the United States related that she had gone
    1211 on several dates in September of 2020 where she became very intoxicated and engaged in
    13 II sexual intercourse with Defendant.     She eventually told Defendant that she could not
    14 11 continue to meet with him if she becomes so intoxicated. This encounter is factually similar
    15 II to the encounter alleged in the charged complaint.        This Court also finds that while
    16 II Defendant was aware that he was being investigated for a sexual assault allegation, he was
    17 II not aware of the broader investigation and the other victims until his arrest. His behavior
    18 11 revealed through the Governments' proffer combined with his admitted experience and skill
    19 II in residing abroad weighs this factor in favor of detention.
    20 II        2.    Physical and Mental Condition: While there was no evidence presented
    21 II regarding Defendant's mental condition, there was evidence that Defendant had heart valve
    22 II surgery in 2018. The Court does note that MCC does have medical facilities and the ability
    23 II to address health problems with inmates while in custody. Accordingly, this factor is treated
    24 as neutral.
    25           3.    Family Ties: Defendant's mother and father live in La Mesa, California and
    26 II are generally supportive of Defendant. Additionally, the Court notes that Defendant's
    2711 mother is currently receiving treatment for cancer and separation from his mother is an
    28 II admittedly difficult experience. Accordingly, this factor is treated as favorable for release.
                                                      3
            Case 3:20-mj-04452-LL Document 14 Filed 10/19/20 PageID.51 Page 4 of 5
'- J




        1          4.     Employment:         Defendant had stable employment until he resigned his
        2 II government position this year. This factor weighs in favor of detention.
        3          5.     Financial Resources: Defendant owns a rental property in Las Vegas, Nevada
        411 and has savings from his years of employment. This factor weighs in favor of detention
        5 II given that it could facilitate Defendant's ability to flee and reside abroad.
        6          6.     Length of Residence in the Community: Defendant has lived throughout the
        711 world due to his employment, and only moved back to his parent's home since mid-June.
        8 II This factor weighs in favor of detention.
        9          7.     Community Ties and Past Conduct: The proffered evidence for these factors is
       10 II duplicative of evidence already considered. As a result, these factors will be treated as
       11 II neutral.
       12          8.     History Relating to Drug or Alcohol Abuse: There is no evidence of Defendant
       13 II personally abusing drugs or alcohol. This weighs in favor of release.
       14          9.     Criminal History: Defendant does not have a prior criminal history. This
       15 11 factor weighs in favor of release.
       16           10.   Record Concerning Appearance at Court Proceedings and on Probation, Parole
       1711 or Other Release: Defendant has never been required to attend court proceedings. Therefore,
       18 II this factor is not applicable.
       19                                                    II.
       20                         CONCLUSIONS REGARDING DETENTION
       21          Based on the factors set forth in 18 U.S.C. § 3142(g), the Government has satisfied
       22 11 its burden of demonstrating that Defendant is a danger to the community and a flight risk
       23 II and that no condition or combination of conditions will reasonably assure the appearance
       24 of Defendant at future court proceedings in this case.
       25 II
       26 II
            II
       2711 11
            II
       28
                                                         4
          Case 3:20-mj-04452-LL Document 14 Filed 10/19/20 PageID.52 Page 5 of 5
.$




      1                                                III.
      2                                             ORDER
      3         IT IS HEREBY ORDERED that Defendant be detained pending trial in this matter.
      4         IT IS FURTHER ORDERED that Defendant be committed to the custody of the
      5 II Attorney General or the Attorney General's designated representative for confinement in a
      6 II corrections facility separate, to the extent practicable, from persons awaiting or serving
      7 II sentences or being held in custody pending appeal. Defendant shall be afforded reasonable
      8 II opportunity for private consultation with counsel.
      9         While in custody, upon order of a court of the United States or upon the request of
     10 II an attorney for the United States, the person in charge of the correctional facility shall
     11 II deliver Defendant to the United States Marshal for the purpose of an appearance in
     12 II connection with a court proceeding or any other appearance stipulated to by counsel for the
     13 II defense and for the United States.
     14         THIS ORDER IS ENTERED WITHOUT PREJUDICE.
     15         IT IS SO ORDERED.
     16
     17
     18 DATED: 10/19/2020                                                d£P
     19                                                         HONORABLE LINDA LOPEZ
     20                                                         United States Magistrate Judge
     21
     22
     23
     24
     25
     26
     27
     28
                                                      5
